Case 1:19-cr-00696-PAE Document 145-11 Filed 07/07/20 Page 1 of 3



Avi Ganz
820 Madison ave
Scranton, PA
18510


July 7th, 2020

The Honorable Paul A. Engelmayer
United States District Judge
United States District Court
Southern District of New York
Thurgood Marshall Courthouse
40 Centre StreetNew York, NY 10007



Re: Ari Teman


Dear Judge Engelmayer,

My name is Avi Ganz. I am the director of Yeshivat Darkaynu, a post-highschool program for
young men and women with special needs. Ari and I met years ago after his first cousin, a
young man with autism, spent a year at our program. I started reading about Ari's
philanthropy and was overwhelmed by the way he used his entrepreneurial streak for
philanthropic work. Several months later, in advance of a fund raiser for our nonprofit, I
reached out to Ari to ask if he would perform (Ari is, among other things, a stand-up comic)
at our event, and he was very quick to say yes. He insisted on doing the event for free and
wouldn't even let us cover the travel costs. Before and after the event, Ari was lavish in his
praise of our work and generously shared on social media encouraging his network to
contribute to the cause. Since then, Ari has been a personal friend. I see how he has
donated his time, money, knowledge and more to so many good causes. His mind is always
thinking about the next project and how he can make the world a better place in one way or
another.

About a year and a half ago, I suddenly got a text from Ari: it was his cousin's birthday and
he needed my help…….to get a pony delivered to her house in Israel! For years, the two had
shared a running joke about sending a pony for the birthday and Ari had decided that
December 2018 was the time. Together, we found a local pony owner, arranged the
Case 1:19-cr-00696-PAE Document 145-11 Filed 07/07/20 Page 2 of 3



surprise, executed the delivery and accompanying photo-shoot…..kooky, for sure – but just
another example of Ari's big heart and concern for others. Anything for them to feel
remembered and appreciated. Ari had given his word, and he wouldn't let up until he
delivered. I do hope that he will be able to weather this case and return to the very good
work he has done and plans to do.

Ari has a very big heart – one that is certainly aching now - and I respectfully ask that you
take this into account in his sentencing. It hurts me to think that a friend, a man who has
given so much to so many, has this nightmare to live through.

I appreciate your honor's consideration of this matter.

Very sincerely,

Avi Ganz
Case 1:19-cr-00696-PAE Document 145-11 Filed 07/07/20 Page 3 of 3
